     Case 1:18-cr-00056-DAD-SKO Document 65 Filed 06/27/19 Page 1 of 2


 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
 2   1318 K. Street
 3   Bakersfield, CA 93301
     Tel: (661)326-0857
 4   Fax: (661)326-0936
     Email: dtorres@lawtorres.com
 5
     Attorney for:
 6   PARAMJIT MANGAT
 7                                     UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                           CASE NO: 18-CR-0056 LJO-SKO
11                        Plaintiff,
12           v.                                           STIPULATION AND ORDER TO
                                                          CONTINUE REQUEST TO TRAVEL AND
13    PARAMJIT MANGAT,                                    ORDER TO SHOW CAUSE HEARING
14                        Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE STANLEY
17   BOONE AND HENRY CARBAJAL, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, PARAMJIT MANGAT, by and through his attorney of

19   record, DAVID A. TORRES hereby requesting that the Request to Travel and Order to Shaw

20   Cause hearing currently set for Thursday, June 27, 2019 to be trailed to Monday, July 8, 2019 for

21   the following reason(s):

22          1. On June 20, 2019, our firm filed a request seeking an order from the court allowing

23                Mr. Paramjit Mangat to travel to India to see his mother who is currently ill.

24          2. On June 24, 2019, the matter was brought before Magistrate Stanley Boone. During

25                the course of the hearing, AUSA Henry Carbajal requested that the defendant be

26                present. In addition, there was an issue with respect to an interpreter being present.

27          3. Ultimately, the court continued the matter to Thursday, June 27, 2019 at 2:00 for

28                further hearing. The court further ordered Mr. Mangat to be present at the time of the
                                                         1
     Case 1:18-cr-00056-DAD-SKO Document 65 Filed 06/27/19 Page 2 of 2


 1               hearing.

 2            4. Pursuant to the courts order, I sent a text to Mr. Mangat to contact me immediately.

 3               Tuesday morning, I received a text from the defendant, and he informed me that he

 4               was currently working (as a truck driver) and was hauling goods in the state of

 5               Virginia. He further informed me that he was not scheduled to return to California

 6               until late Friday. It is my understanding that that he is traveling/working out of state

 7               with the permission of his Pre-trial Services Officer, Ryan Beckwith.

 8            5. I have spoken to AUSA Henry Carbajal and he has no objection to continuing these

 9               matters to Monday, July 8, 2019.

10
              IT IS SO STIPULATED.
11                                                                  Respectfully Submitted,
12
     DATED: 6/27/19                                                 /s/ David A Torres           ___
13                                                                  DAVID A. TORRES
                                                                    Attorney for Defendant
14
                                                                    PARAMJIT MANGAT
15

16
     DATED: 6/27/19                                                 /s/Henry Carbajal___________
17                                                                  HENRY CARBAJAL
18                                                                  Assistant U.S. Attorney

19

20                                                 ORDER
21
              IT IS SO ORDERED that the hearing currently set for June 27, 2019 be continued to July
22
     8, 2019 at 2:00 pm in Courtroom Number 9. The defendant is ordered to appear.
23

24
     IT IS SO ORDERED.
25
     Dated:     June 27, 2019
26                                                       UNITED STATES MAGISTRATE JUDGE
27

28
                                                         2
